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                                                                                                    E-FILED
                                                                 Thursday, 13 August, 2009 04:19:30 PM
                                                                          Clerk, U.S. District Court, ILCD
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    AT PEORIA

UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
       vs.                                    )       Case No. 09-CR-10030
                                              )
ALI SALEH KAHLAH AL-MARRI,                    )
                                              )
                       Defendant.             )

            PROTECTIVE ORDER PURSUANT TO SECTION 4 OF THE
              CLASSIFIED INFORMATION PROCEDURES ACT AND
        RULE 16(d)(1) OF THE FEDERAL RULES OF CRIMINAL PROCEDURE

       This action is before the Court on the Government’s Classified In Camera, Ex Parte

Motion for a Protective Order Pursuant to Section 4 of the Classified Information Procedures

Act, 18 U.S.C. App. 3, and Rule 16(d)(1) of the Federal Rules of Criminal Procedure, supporting

declaration and accompanying exhibits (hereinafter, the “Submission”), filed with the Court

Security Officer or her designee on August 11, 2009.

       After in camera, ex parte inspection and consideration of the Submission, including an

Ex Parte phone conference with Department of Justice Attorney Joanna Baltes on August 13,

2009, the Court finds, pursuant to Section 4 of CIPA and Rule 16(d)(1), that the Government’s

Submission contains classified information that requires protection against unauthorized

disclosure for reasons of national security. Specifically, the Court finds that disclosure of the

Classified documents to the defense, or to the public, reasonably could be expected to cause

serious damage to national security.

       The First Amendment right of access to court documents may be curtailed in favor of a

compelling governmental interest provided that the limitation on access if “narrowly tailored to

serve that interest.” GlovB Newspaper Co. v. Superior Ct., 457 U.S. 596, 606-607, (1982); see

also, Press-Enterprise Co. v. Superior Ct., 464 U.S. 501, 510 (1984)(“The presumption of
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openness may be overcome only by an overriding interest based on findings that closure is

essential to preserve higher values and is narrowly tailored to serve that interest.”); Nixon v.

Warner Communication Inc., 435 U.S. 589, 598 (1978) (common law right of access may be

outweighed by an important competing interest). The Court finds that the Government’s interest

in protecting the national security and preventing the unnecessary dissemination of classified

information outweighs the defendant’s and/or the public’s right of access to these materials. See,

Haig v. Agee, 453 U.S. 280, 307 (1981)(“[N]o governmental interest is more compelling than

the security of the Nation.”); Snepp v. United States, 444 U.S. 507, 509 n.3 (1980)(“The

Government has a compelling interest in protecting both the secrecy of information important to

our national security and the appearance of confidentiality so essential to the effective operation

of our foreign intelligence service.”).

       The Court further finds that the Government’s Submission is so interrelated with

classified information, as to make impracticable the filing of meaningful redacted materials that

do not divulge classified information. No less reasonable alternative to closure and sealing will

protect the Government’s interest in preventing the unauthorized dissemination of this

information, and this sealing order is drawn as narrowly as possible under the circumstances.

The Government, in its motion and Submission, seeks a protective order authorizing the

government to summarize certain classified documents to be provided to the defense in

discovery. The original classified documents contain classified information that is not

discoverable under applicable law. Disclosure of the motion or accompanying materials to the

defense or the public would defeat the Government’s purpose in seeking a protective order.

       Therefore, IT IS HEREBY ORDERED, that the Government’s Submission may be filed

ex parte for in camera consideration and shall be sealed and maintained in a facility appropriate

for the storage of classified information at the identified level by the Court Security Officer as

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the designee of the Clerk of the Court, in accordance with established security procedures, until

further order of this Court.

       After ex parte, in camera inspection and consideration of the Submission,

       IT IS HEREBY ORDERED THAT the Government’s motion is GRANTED pursuant to

Section 4 of CIPA and Rule 16(d)(1).

       The Court finds that the classified information sought to be protected is either not

discoverable under Brady v. Maryland, 373 U.S. 1194 (1963), Giglio v. United States, 405 U.S.

150 (1972), and their progeny, or Federal Rule of Criminal Procedure 16; or that such discovery

value is outweighed by the potential danger to national security that might ensue after disclosure.

       IT IS HEREBY ORDERED that the Government is authorized to provide the summaries

attached to the Submission and need not disclose to the defense the original classified materials

described in the Submission.

       IT IS SO ORDERED, this 13th day of August, 2009.


                                                     s/ Michael M. Mihm
                                                     HONORABLE MICHAEL M. MIHM
                                                     UNITED STATES DISTRICT COURT




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